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         In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0641V
                                         UNPUBLISHED


    STEINAR LEE,                                               Chief Special Master Corcoran

                         Petitioner,
    v.                                                         Filed: September 1, 2021

    SECRETARY OF HEALTH AND                                    Special Processing Unit (SPU);
    HUMAN SERVICES,                                            Proffer on Damages; Influenza (Flu);
                                                               Guillain-Barré syndrome (GBS).
                        Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Lynn Christina Schlie, U.S. Department of Justice, Washington, DC, for Respondent.

                                DECISION AWARDING DAMAGES1

        On April 30, 2019, Steinar Lee filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”) as a result of
an influenza (“flu”) vaccine administered on November 2, 2017. Petition at 1. The case
was assigned to the Special Processing Unit of the Office of Special Masters.

       On June 23, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for GBS. ECF No. 25. On September 1, 2021, the parties filed the attached
proffer, which states that a decision should be entered awarding compensation. ECF No.

1 Because this unpublished opinion contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the opinion will be available to anyone with access to the internet.
In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or
other information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon
review, I agree that the identified material fits within this definition, I will redact such material from public
access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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42. I find the proffer reasonable and adopt it as my decision awarding damages, on the
terms set forth therein.

     Pursuant to the terms stated in the attached Proffer, I award the following
compensation:

            •   A lump sum of $328,155.19 (which amount includes $162,000.00 for
                pain and suffering, $162,192.00 for actual loss of earnings, and
                $3,963.19 for actual unreimbursable expenses). Proffer at 1.

       This amount represents compensation for all items of damages that would be
available under Section 15(a). Id.

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

        IT IS SO ORDERED.
                                                         s/Brian H. Corcoran
                                                         Brian H. Corcoran
                                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS

                                                    )
 STEINAR LEE,                                       )
                                                    )
                  Petitioner,                       )
                                                    )    No. 19-641V
 v.                                                 )    Chief Special Master Corcoran
                                                    )    ECF
 SECRETARY OF HEALTH AND HUMAN                      )
 SERVICES,                                          )
                                                    )
                  Respondent.                       )
                                                    )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

          On June 12, 2020, respondent conceded that entitlement to compensation was appropriate

under the terms of the Vaccine Act. ECF No. 24. On June 23, 2020, Chief Special Master

Corcoran issued a Ruling on Entitlement, finding that petitioner was entitled to vaccine

compensation for his Guillain-Barre Syndrome (“GBS”). ECF No. 25.

I.        Items of Compensation

          Based upon the evidence of record, respondent proffers that petitioner should be awarded

$328,155.19. The award is comprised of the following: $162,000.00 for pain and suffering,

$162,192.00 for actual loss of earnings, and $3,963.19, for actual unreimbursable expenses. This

amount represents all elements of compensation to which petitioner would be entitled under 42

U.S.C. § 300aa-15(a). Petitioner agrees.

 II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $328,155.19, in the form of a check payable to petitioner. Petitioner

agrees.
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      Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                   Respectfully submitted,

                                                   BRIAN M. BOYNTON
                                                   Acting Assistant Attorney General

                                                   C. SALVATORE D’ALESSIO
                                                   Acting Director
                                                   Torts Branch, Civil Division

                                                   HEATHER L. PEARLMAN
                                                   Deputy Director
                                                   Torts Branch, Civil Division

                                                   DARRYL R. WISHARD
                                                   Assistant Director
                                                   Torts Branch, Civil Division

                                                   /s/ LYNN C. SCHLIE
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Dated: September 1, 2021
